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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                 Criminal No. 21-0090 (PLF)
                                    )
NATHANIEL J. DEGRAVE,               )
                                    )
            Defendant.              )
____________________________________)

                            MEMORANDUM OPINION AND ORDER

                  Before this Court is Defendant Nathaniel J. DeGrave’s Motion for Immediate

Bond Determination [Dkt. No. 36]. For the reasons set forth below, the Court will grant this

motion to the extent it seeks an immediate bond determination and will deny this motion in all

other respects.

                  Counsel for Mr. DeGrave moved orally for modification of pretrial detention and

immediate release at the March 16, 2021 arraignment and initial appearance before this Court.

The Court held a detention hearing on that motion on March 25, 2021. In order to give due

consideration to the legal arguments raised and evidence proffered at the March 25 detention

hearing, the Court did not immediately rule on Mr. DeGrave’s motion and scheduled a

subsequent detention hearing for April 2, 2021. See March 25, 2021 Minute Entry. At the

conclusion of the March 25 detention hearing, the Court directed counsel to file any further

materials they wished the Court to consider by March 31, 2021. See id.

                  Both sides submitted additional briefing on March 31 that addressed, among other

issues, the separate criminal actions in which Ronald Sandlin and Josiah Colt, two individuals

who the government describes as having engaged in concerted activity with Mr. DeGrave, are
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defendants. See Government’s Supplement to Opposition to Defendant’s Motion for Bond [Dkt

No. 19] at 1-4; Defendant Nathaniel DeGrave’s Second Supplement – Application for Pretrial

Release [Dkt. No. 20] at 5-6.

               The Court vacated the April 2, 2021 detention hearing to await Judge Friedrich’s

ruling on pretrial detention with respect to Mr. Sandlin in Criminal No. 21-0088. Memorandum

Opinion and Order [Dkt. No. 23] at 1-2. As the Court explained, in light of the relative

culpability of Messrs. DeGrave and Sandlin as described by the government, the Court

determined it was appropriate that a decision on pretrial detention be rendered with respect to

Mr. Sandlin before any decision with respect to Mr. DeGrave. Id.

               On April 13, 2021, Judge Friedrich ordered Mr. Sandlin detained. Order, United

States v. Sandlin, No. 21-cr-88 (D.D.C. Apr. 13, 2021) [Dkt. No. 31] at 1. On April 14, 2021,

the Court rescheduled the detention hearing concerning Mr. DeGrave for April 26, 2021.

April 14, 2021 Minute Order. That same day, in an effort to be fair to Mr. DeGrave, the Court

issued a memorandum opinion and order providing counsel the opportunity to explain the

distinctions between Messrs. DeGrave and Sandlin through supplemental briefing. United States

v. DeGrave, Criminal No. 21-0090, 2021 WL 1405942, at *1-2 (D.D.C. Apr. 14, 2021). The

Court held the detention hearing as scheduled on April 26, 2021, but again, in an effort to be fair

to Mr. DeGrave and to afford due consideration to the additional arguments raised by his counsel

at that hearing, the Court did not immediately issue a ruling.

               The Court has, in fact, reached a conclusion with respect to Mr. DeGrave’s

request for bond and has a draft of an opinion, approximately thirty pages in length, analyzing

the facts, circumstances, and applicable law in relation to Mr. DeGrave. In view of the analysis,

discussion, and explanation that will be set forth in that opinion, the Court has decided to deny




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Mr. DeGrave’s motion for bond because the Court has found by clear and convincing evidence

that “no condition or combination of conditions will reasonably assure . . . the safety of any other

person and the community” if Mr. DeGrave is released pending trial. 18 U.S.C. § 3142(e)(1). It

therefore is hereby

                 ORDERED that the defendant’s Motion for Immediate Bond Determination [Dkt

No. 36] is GRANTED to the extent it seeks an immediate bond determination and DENIED in

all other respects; it is

                 FURTHER ORDERED that the defendant’s oral Application for Modification of

Pretrial Detention and Immediate Release is DENIED; and it is

                 FURTHER ORDERED that the defendant Nathaniel J. DeGrave shall be detained

pending trial.

                 An opinion consistent with this order will follow in due course.

                 SO ORDERED.



                                                      ____/s/____________________
                                                      PAUL L. FRIEDMAN
                                                      United States District Judge

DATE: May 6, 2021




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